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U.S. Department of State
Diplomacy in Action

Foreign Missions at the International Chancery Center
Embassy of Austria

Embassy of Bahrain

Embassy of Bangladesh

Embassy of Brunei Darussalam

Embassy of the Arab Republic of Egypt

Embassy of Ethiopia

Federal Office Building

Embassy of Ghana

Embassy of Israel

Embassy of Jordan

Embassy of Kuwait

Embassy of Malaysia

Embassy of Nigeria

Embassy of Pakistan

Embassy of the People’s Republic of Singapore

Embassy of the Slovak Republic

Embassy of the United Arab Emirates

4000 Connecticut Avenue (former INTELSAT Headquarters Building)




Embassy of Austria
(Completed in 1992)
Architect: Boeckl-Gates Inc.
Architecturally, the Austrain Chancery is designed to reflect southern Austrian castle construction. The exterior of the building is
primarily limestone and granite. The rusticated granite base is punctuated with ornamental iron grilled. All of the windows are
bronze-tinted and insulated. The main entrance is located on the gently curving east façade of the building. To the east of the
building is a formal circular driveway. A curved entrance canopy covers the main entrance. The grounds of the Chancery are
beautifully landscaped, with a mixture of flowering plants and shrubs.


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To the north of the Chancery is the Center’s North West Park. Many neighbors in the surrounding area use this park frequently to
walk their dogs and enjoy the beauty of the garden. <Back to Top>




Embassy of Bahrain
(Completed in 1982)
Architect: The Architects Collaborative Inc.
The Bahrain Chancery is a two-story structure with the front façade facing International Drive. The grade slopes steeply to the
south so that the first floor is a full story above the surrounding grade at the rear of the building. The chancery has a white
synthetic stucco exterior finish with arched windows and doors, reflecting the local architecture.
In 1991, a one-story addition was built on the first floor entrance on the south side of the building. This was done to add additional
space within the building. This addition included arched windows and doors and was finished with white synthetic stucco to match
the existing structure.
The Embassy of Bahrain was one of the original chanceries to be built at the Center, along with Israel, Jordan and Kuwait. <Back
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Embassy of Bangladesh
(Completed in 2000)
Architect: Smith Group
Bangladesh is a country situated in a lush green river delta near Southeastern Asia. It is a country rich in diverse cultural tradition
set in a landscape accentuated with indigenous colors of green, purple and gold. Its most sacred buildings are constructed of
concrete and masonry with articulated patterns reflecting their diverse culture. It is the form of the river delta that inspired the
planning of this building at its most public level. Upon arrival to the site, visitors are met by a large freestanding wall of masonry
and limestone, articulated in traditional pattern motifs. The entrance at the center of the wall crosses over a reflecting pond, which
metaphorically starts the journey of the delta into the building. The flooring, composed of bluestones, carries the metaphor by
passing through the main lobby and progressively getting wider as it descends down a grand stairway. At the base of the stairway,
the bluestone flooring spreads across into the grand lobby and great hall, where it completes its form as a metaphorical bay. The
delta plan is further reinforces by flanking office floor plates that surround the perimeter. The simplicity of the plan allows for
efficient use of a rather steep building site while providing generous views of the gardens and a National Park to the southwest.
The chancery roof sits on top of a mechanical penthouse that utilizes decorative grilles along the perimeter for relief and fresh air
intake. A large water trough is incorporated across the center line of the roof to tie the rear of the building with the front, channeling
rain water to the entrance reflecting pond, helping to complete the water cycle of the river delta.
An inverted gabled roof composed of concrete and metal metaphorically responds to the national symbol of Bangladesh: the water
lily.
The terrace at the first floor level is anchored to the ground by a decorative retaining wall of concrete and masonry and overlooks a
beautiful landscape of tall trees and flowering plants. <Back to Top>




Embassy of Brunei Darussalam
(Completed in 1999)
Architect: RTKL
The most distinct and memorable sight for visitors to Brunei Darussalam is the Kampong Ayer or Water Village. In existence for
centuries, this village of houses built on stilts over the water has endured. Although no one structure in the village is historical, the
reconstruction has been constant and although modernized, the power of this legacy remains.


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The Embassy of Brunei Darussalam is constructed primarily of steel, glass, and metal panels. The intention was to detail the
structural steel frame in a manner that is a modern interpretation of its Asian heritage and as the primary organizational element of
the building. Various glazing types are used and combined with the steel to reflect the skeletal reflection, transparency and
translucence emphasize the relationship of objects and planar elements in the Embassy. The use of screens derived from the
shutters used in the Malay House or “veil” is used outside the building as protective screens and inside as space-defining
elements. The interior structural grid is emphasized as the major determinant of form. The steel elements are clad with
craftsmanship-like quality to a certain height to increase the delicacy of their appearance and refinement, with exposed traditional
steel elements limited to high level roof-framing members.
The building’s form is inspired by the “Malay House” and the expansive Kampung Ayer in Bandar Seri Begawan, Brunei’s capitol
city. The simple gable roofed buildings hovering over the water are invoked as the main architectural concept. The ideas that are
exemplified by the “Water Village” are translated in an abstract way in the Embassy of Brunei Darussalam. The building’s form,
articulation, and detail evoke the skeletal, “light” nature of Asian architecture. The large glass conference room seen as a “building
on stilts” becomes a precious object displayed as a symbol of the purpose of the embassy: to promote communication. <Back to
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Embassy of the Arab Republic of Egypt
(Completed in 1993)
Architect: Daniel, Mann, Johnson, & Mendenhall
The 30,037 square-foot building is located on a 37,184 square-foot lot. The building site is basically flat, sloping sharply to the east
and northeast. The rectangular, three-story building is approximately 40 feet high. The Chancery façade is a light gray granite with
a textured finish. Vertical bands of bronze glazing surround the building. An outdoor landscaped terrace used for entertaining is
located along the east side of the building, overlooking UDC’s soccer/football field.
The main entrance into the building is on the west side, facing International Court. A 25-foot high granite pylon provides a signature
feature at the entrance to the building. The secondary entrance is located on the southeast side of the building. Vehicular access is
through the main gate from International Court. The Chancery also has a black perimeter fence with vertical elements around the
entire building. <Back to Top>




Embassy of Ethiopia
(Completed in 2000)
Architect: RTKL
The wall of representation serves as the principal means of depicting Ethiopia’s rich diversity and history. Symbolic of the solid
stone constructive vernacular to Ethiopia, the massive stone-clad wall bisects the site perpendicular to International Drive. It
anchors the Embassy to the site as well as organizes the procession through the building and is constructed of original ambo
stone shipped from Ethiopia. Wall reliefs are carved into the stone depicting many facets of the nation’s history and culture, and
are treated as a historic time line creating a descriptive path through the building. An Ethiopian artist, Skunder Beghossian,
developed the art program for the wall. The Embassy chose 17 historical topics, which are depicted on the wall.
To the west of the wall of representation is a three-story glass and steel cylinder based on an abstraction of the typical Ethiopian
round house. It is both symbolically and functionally attached to the wall. A curtain wall of Ethiopian modern technology abstracts a
traditional Ethiopian screen and surrounds a portion of the cylinder.
Visitors to the Ethiopian Embassy approach the entry along the wall of representation that begins at International Drive and
continues through the building, extending into the landscape at the rear of the building where the visitor views the dramatic
wooded landscaped site beyond. <Back to Top>




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Federal Office Building
(Completed in 1990)
Architect: Leo A. Daly
The Federal Office Building, also known as the “Town Hall,” is the centerpiece of the International Center. It houses the security
and administrative services required for the diplomatic missions that occupy the Center, as well as those located elsewhere in
Washington D.C.
Elements of the Department of State’s Office of Foreign Missions and the Bureau of Diplomatic Security are housed in the building.
There is also an on-site building manager. This building also serves as headquarters for the Foreign Missions branch of the
Uniformed Division of the Secret Service.
The architectural design of the building was patterned after the traditional styling of the late 19th and early 20th century buildings
that serve today as chanceries of foreign embassies in the Nation’s Capitol. The exterior walls are pre-cast concrete in earth tones,
with green-clad aluminum window fenestration. The roof is covered with mission barrel clay tiles. The lobby walls and floor are
covered with domestically quarried marble. The building contains three levels above grade and four parking levels below.




Embassy of Ghana
(Completed in 1989)
Architect: Brown & Wright Architects
The architects, Brown & Wright, state that the concept for design of the Ghanaian Chancery is the layout of the traditional palace of
a Paramount Chief of Ghana. The first floor courtyard has a porch for the talking drums to the right and a porch for the pedestal of
“libations” to the left. The courtyard has been dropped three steps to provide additional scale and seating.
Around the courtyard is a reception area, waiting lounge, the Consular offices, a reading room and an auditorium. Offices are
located on the three floors above. There is a skylight overhead. The external treatment accentuates columns, voids, and solids,
with internal spaces enclosed by a large and very functional court. The front walls of the chancery are flanked with handsome
bronze Asante symbols. <Back to Top>




Embassy of Israel
(Completed in 1980)
Architect: Cohen and Haft, Holtz Kerxton & Associates
The Israeli Embassy was completed in December 1980, making it the first chancery to be occupied at the Center. The chancery is
a beige brick structure. Designed like carefully stacked building blocks punctuated by graceful Mediterranean arches. The
Chancery is intended to give the feeling of Jerusalem and Middle Eastern architecture. <Back to Top>




Embassy of Jordan
(Completed in 1984)
Architect: Leo A. Daly
The Chancery of Jordan is organized into a series of modular towers adjusted in height to accommodate the steep slope of the
site. The intimate scale of the chancery reflects the design style and character of the native architecture of Jordan. The entrance
court area is paved with brick and mosaic stone.
The building is a masonry structure with two arched windows consisting of strips of glass articulating the modular views. The
building accommodates two main functions, the Chancery and the Defense Attaché. These two areas are completely divided with
each having separate environmental support systems. <Back to Top>



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Embassy of Kuwait
(Completed in 1982)
Architect: Skidmore, Owings, & Merrill
The Kuwait Chancery annex is a square three-story building surmounting a larger two-level service base. The building is set into a
steeply sloping half-acre lot. Steel trusses cantilever from two structural steel cores anchored at opposing corners. Suspended
clear frameless glazing was used to enclose the entrance level. The second and third levels are glazed with insulating green-tinted
frameless glass and spandrel panels with interior aluminum millions. The building exterior is clad with stainless steel panels. Gray
granite covers terrace and sub-grade walls and the interior and exterior entrance level pavement.
In strong contrast to the smooth, high polish of the Chancery exterior, the interior is a colorful, high decorative, vibrant place. The
rotated square concept common to Islamic design is used to generate both building form and interior decorative motifs. A faceted
skylight above the main reception hall refracts light, a prismatic effect across brightly painted walls. Enhancing the filtration of light,
open wooded screens partition the ground floor space. Colorful marble intricately inlaid in a geometric pattern contrast with gray
granite paving. A rotated square fountain is the central decorative element of this space. Visitors and employees enjoy wide views
of the surrounding area through expansive glass walls. <Back to Top>




Embassy of Malaysia
(Completed in 2002)
Architect: Leo A. Daly
The Malaysia Chancery building form is reminiscent of the early 20th century government buildings, which are predominant in
major towns in Malaysia. The architectural style was known then as “Anglo-straits Eclectic,” a style which successfully juxtaposes
the beauty of indigenous and imported Western elements. The intrinsic beauty of these buildings has endured the test of time and
of late has been regarded as a Malaysian architectural heritage.
The similar representation is invoked as the centerpiece of the architectural concept driving the exterior massing as the interior
design theme for the new chancery building. The design has been infused with the symbolism and aesthetics of traditional Malay
building principles and form not imitated passively, but drawn from tradition and transformed into a new expressive youthfulness
intertwines with Western ornamentation, contemporary design and technology.
The design consists of two interconnected buildings. The grandiose, multi-pillared main entrance and roof capped multilevel
reception hall is a manifestation of Anjung and Serambi design in traditional Malay palaces, which becomes a distinct structure that
warmly greets and welcomes guests in traditional fashion. This symbolic traditional icon then links the administrative center that
houses the majority of the offices, the grand hall, and the support areas.
The building is constructed with pre-cast concrete panels in two finished that sits on a rough granite base. The same material, in a
polished finish, is seen as a 12” band wrapping around the entire structure.
Visitors to the new Chancery building will enter the site on a perpendicular axis to the main reception hall via a gabled roof portico.
This initial space derives from the “Anjung” or covered porch of the Malay Houses. It serves as the greeting point and the pivotal
area where the country’s image and cultural heritage come together to create a link between the past and the dynamic future. After
being greeted and identified, the visitor enters the reception hall overlooking both interior and exterior spaces from an expansive
multi-story balcony area. Directly in front, the glazed outer building façade brings into focus the landscaped gardens and water
features. Access to the garden room below is via an ornamental staircase. The less formal space was inspired by the Serambi
Gantung or “visitors’ room” of the Malay House.
At the reception and greeting hall, the visitors may be drawn in two directions. To the left, via a column flaked access, one is
directed into the pre-function are of the grand hall. This hall, which will serve as the main representational area, may be converted
onto a versatile multipurpose facility for conferencing, dining, or cultural events. To the right, the visitors may be directed to the
public conference room or the library. From here, one can also reach the elevators to the upper office floors.
Equatorial rain forests cover most of the northern territory in Malaysia, with mountainous areas and swampy coastal plain along
the South China Sea. A lush multi-level tropical garden grows out of the geometry of the building to the west and south in order to
enhance the appearance of the gently sloping site. This element creates an association with the indigenous landscape architecture

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of the country.
It is important to note that the site offers two front elevations. One faces the access road on International Court, the other faces a
prominent residential city street. The tile patters from the Garden Room and Grand Hall extend out into the garden, creating an
interwoven composition of linear and curved elements.
Layering and stepping are also used as a series of designs creating a sequence from the front to the rear of the site. The forms
flow in a series of informal arrangements starting from the terrace in front of the Grand Hall. They proceed into the pool and
waterfall, to the stairs and courtyard at the garden room level. From this point, they proceed upwards towards a focal point that is
dominated by an existing large blue spruce tree.
The judicious use of water in the garden is relegated primarily to a pool that will enhance reflective light into the multi-story open
space of the building.
In addition to the formal gardens, the plan provides for functional landscaping, aiming to articulate the exterior spaces and side
yard, organize the ground, and provide for a buffering and screening. <Back to Top>




Embassy of Nigeria
(Completed in 2001)
Architect: Shalom Baranes Associates
The design of the Nigerian Chancery reflects two indigenous residential building types in West African architecture: the linear
house and the communal Impluvium structure. The linear houses are multi-layered, progressing from light wooden screens to the
heavy masonry walls with deep exterior punched as one moves from the public to the more private portions of the house. The
Impluvium structures are concentric in plan and consist of individual structures arranged around a central courtyard space. The
roof covering of the Impluvium is constructed prior to and independently of the subsequent structures, which are then constructed
underneath it. The large columns which support the roof rise up through the enclosed courtyard space and light enters the
courtyard through a central opening in the roof. These distinctively regional building designs have been in use for centuries and
serve as a morphological reference for the design of the Nigerian Chancery.
The Nigerian Chancery is a layered composition organized around a central atrium. The atrium space is defined by two stone
volumes, one curvilinear and the other angular. These volumes are connected on their west side by a light architectural screen,
composed primarily of wood which stretches between them. The detailing of the stone volumes, with their deep opening of varying
sizes and of the screen which is a combination of both wood and metal is a contemporary expression of the regional building
types. Decorative wooden grilles within the screen protect the office space from harsh western sun, providing an analogous
function to the “dindere” of the linear house. Steel columns with wood cladding rise through the atrium to support the roof structure
which contains a glass skylight and will illuminate the space in a way which recalls the central courtyard of the Impluvium structure.
The site for the Nigerian Chancery is prominent and the approach to it allows one to experience the entire massing of the building
prior to entering. The massing takes advantage of this location by presenting a series of sculptural corners on approach. The main
entry is on the west side of the site and occurs at the dynamic juncture between the angular stone element and the wooden
screen. The entry is further announced by a projecting canopy, which links the screen and stone elements and provides access to
a light-filled atrium, which serves as an exhibition hall, reception hall, and ballroom. The chancery contains a total of three floors.
The exterior material for the stone elements is limestone and is a combination of wood and metal on a stone base which links the
elements together. The landscaping design reinforces the building’s prominent siting and architectural design. Decorative
landscaping also screens the visitor parking area from the approach drive. The south terrace contains decorative trees and
incorporates native specimens. An exterior foundation is visible from the exhibition hall and serves as a focal point for the terrace.
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Embassy of Pakistan
(Completed in 2003)
Architect: Daniel, Mann, Johnson, & Mendenhall

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The Chancery façade creates the initial and ultimately the lasting impression of the Pakistan Embassy for employees and visitors.
Traditional Pakistani architecture was constructed of a load bearing masonry frames with masonry infill panels, creating a
panelized façade. The brick is covered in plaster and some of the panels were further adorned with hand-painted ceramic tiles.
The new Chancery invokes a similar character, utilizing modern construction techniques. Pre-cast concrete panels are molded in a
way to reflect, both in scale and form, the panelized facades of Pakistan’s history. The brick masonry used as a backdrop for the
pre-cast panels, has a dusty red tone. Brick paving is utilized in the courtyards and the four-story office component of the Chancery
masonry-clad with projecting panels of pre-cast concrete, with an infill of glass and ceramic steel panels. The two-story
presentation and reception wing is constructed of pre-cast concrete and glass.
In lieu of decorative ceramic tile, which is problematic in our freeze-thaw climate, ceramic steel panels with digitally produced
patterns inspired by antique Pakistani tiles are proposed to adorn the façade.
Fenestration on the building is proposed in two types. Throughout the major works of architecture in Pakistan, the use of filtered
light through stone screens plays an important role in the quality of the interior spaces. Unfortunately, fabricating 1”-thick marble
screening is difficult in today’s construction economy. In order to develop a similar light quality, Islamic patterns are silk-screened
between two layers of glass as part of the insulated glass and aluminum curtain wall systems. This glazing pattern is utilized at
certain areas throughout the Chancery, such as the main conference room, the ceremonial entrance, and the presentation and
reception hall. Typically, the office and administration areas are glazed with three panel units composed of two small operable
rectangular windows, flanking a larger fixed unit.<Back to Top>




Embassy of the People’s Republic of Singapore
(Completed in 1993)
Architect: RTKL
Architecturally, the Singapore Chancery design responds to two primary goals: (1) to reflect Singapore as a garden city and (2) to
reflect the growing progressive nature of the country. The building is composed of two intersecting geometries. One, a cruciform,
identified by a hip roof, represents Singapore’s past. The second, a circle that grows out of the cruciform, represents Singapore’s
present and future as a growing progressive country. The “L”-shaped building frames a lush landscaped garden at the northeast
corner of the site near the intersection of Van Ness Street and International Drive.
The architects chose selectively among Singapore’s vernacular architectural traditions. From the so-called “black-and-white
houses”—two story bungalows built by the British—they adopted the notion of gently sloping roofs with broad, overhanging eaves,
and from the city’s older commercial districts, something of the busy rhythm of recessed windows broken up by mullions and
wooden louvers. The vernacular elements are woven into the design to give it texture, depth and human scale.
The major materials for the exterior of the building are light, warm gray granite, tinted glass, and a terne-coated metal roof. The
standing-seem metal roof is scaled in a way to give the rather large, four-story building a somewhat domestic dignity. Teak
sunscreens are strategically placed to enrich the texture and detail of the Chancery, reflecting the tropical qualities of Singapore.
The exterior windows were suitably enlarged and freely adapted from the original models, and the results were pleasingly
modulated surfaces on all elevations. Careful attention to details of materials and texture made for handsome results all around.
Worth mentioning are the slender “Roman-brick” laid in common bond, with accent stripes of dark granite.
The site plan itself is a brilliant, willful union of the cruciform floor plan of many black-and-white houses and a circular garden wall.
The combination enabled the architects to take full advantage of the sharply sloping site—one enters the building through the
southern, uphill façade and proceeds through a wooden-paneled atrium down to a high-ceiling ceremonial room, and from there, to
the splendid garden. In places, the circle is used to shape exterior walls, giving the whole an impressive dynamic presence on its
hill.<Back to Top>




Embassy of the Slovak Republic
(Completed in 2001)
Architect: Leo A. Daly

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The Slovak chancery building is located on Lot 21, at the International Center. The site faces on the North the North West Park, to
the East the University of the District of Columbia, and on the South and West the Chanceries of Egypt and Austria, respectively.
The layout of the building was inspired by a typical historical Slovak town. Upon arrival, the traveler would be confronted by a city
wall, punctured sparsely by opening and lookouts. The Chancery building, while conceptually composed of a solid main block
representing this traditional design feature, has been disjointed and connected instead by a transparent, light and open structural
element where this continuous ancient wall used to exist. The remaining wall has been designed with additional openings where
the lookouts existed, exposing the wall interior to the outside surroundings.
In order to enter the city, one would gain access via a drawbridge and in through a gate or portal, evoking a sense of security and
feeling of being within a domain. The building’s canopy over the main access represents this gateway, however it has been placed
on the central transparent open structure rather than at the wall. This conveys a sense of openness and inviting feeling to the
visitor. Once cleared from the gate area at the entrance, one gains passage through a second gate and is visually drawn to the
“town square.” This space consists of three defined boundaries and one open end leading to the assembly area for the visitor. After
entering the lobby, one is visually directed to the open hall (town square) with the same traditional definition, then into the
gathering area and the terrace beyond. The roof over the “town square” is curved and partially glazed at the perimeter to separate
it from the solid element of the ancient wall as if suspended over the square.
The form and image of the building design derives from the historical period between the two World Wars when the nation’s
identity was being established. The collapse of the Austro-Hungarian Empire and the founding of Czecho-Slovakia coincides with
the process of self-determination, progress, and modernism. Here lies the legacy of “Functionalism” and the work of the Slovak
architect Emil Bellus and his credo, coined appropriately by the American architect Louis Sullivan: “Form follows function.” This is
the tradition which characterizes democracy.
The building facades are a juxtaposition of elements. For the ancient “city wall,” a combination of cast stone and split face concrete
block in light gray tones, resembling the appearance of the traditional materials used for construction of the structures, were used.
A mixture of glass and metal framing was used for the lighter elements, which in-fill the voids of the wall. As well as the metal roof,
which covers the “town square,” the color of the framing material resembles rusticated copper (green patina).
The surrounding structure contains unobtrusive landscaping elements and light color paving for the terrace, sidewalks, and drives.
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Embassy of the United Arab Emirates
(Completed in 2001)
Architect: Angelos Demetriou & Associates
The government of the United Arab Emirates has constructed on of the most elaborate chanceries at the International Center. The
121,497 square foot building is a modern, multi-use facility that expresses a variety of traditional Arab motifs while
programmatically supporting the needs of the UAE’s diplomatic mission. The building’s structure emulates an ornamental structure
that serves to protect and organize its prized contents and which reflects the longstanding traditions of Islamic culture and faith.
The structure includes a variety of symbolic features that the UAE believes best represents the quality and exuberance of Islamic
architecture.
The building consists of two square-shaped, steel-framed interconnected buildings clad in various shades of smooth, etched
granite panels. The larger, a four-story main building fronting the entry courtyard, is divided into four separate wings. The offices
within the main building enclose a grand, four-story Central Atrium/Hall. The central space is covered by an “arabesque” cglass
dome. The dome has both reflective and etched stained glass elements. The three-story building wing fronts on Reno Road
adjacent to the Center.
The design includes a series of connected and traditionally landscaped gardens at the rear of the building. The gardens are
considered to be an integral part of the building and are accessible from the lower level prayer rooms and service ramps. Upper-
level terraces located between the front and the rear of the building contain vegetation at the parapet wall to create the
appearance of interwoven building levels and blend the building into the surrounding environment.




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The front entrance to the complex is finished in cobblestone and granite, matching the granite panels of the building’s facades.
Pillars framing the main gateway, a low perimeter security wall at the courtyard entrance, and the columns of the two courtyard
pergolas are finished to match the design of the building facades. The security booth located at the entrance courtyard is also
finished to match the building façade. <Back to Top>



4000 Connecticut Avenue (former INTELSAT Headquarters Building)
The former headquarters building for the International Telecommunications Satellite Organization (INTELSAT) is located on the
International Chancery Center campus between Connecticut Avenue and International Drive, adjacent to the Central Park. The one
million square foot facility opened in February 1985. The building was rebranded “4000 Connecticut Avenue” in 2012 after
INTELSAT sold it to a private entity. This building reflects the international character of the 142-member organization it was
originally created to serve. The 900,733-square foot honeycomb structure’s design is the result of an international competition held
by INTELSAT in 1979. More than 100 architectural firms from 23 nations participated. Architects from Italy, the United Kingdom,
and the United States and officials from INTELSAT comprised a panel that selected six leading architects to submit designs. These
six architects were brought to Washington to view the site and be briefed on INTELSAT’s requirements. After reviewing the
resulting designs, the panel was unanimous in selecting the design by the Australian firm of John Andrews International Ptr. Ltd.
Since its completion, the building has won six awards, including one for its energy saving features. The building’s designer, John
Andrews, has said that the building “was designed in a spirit of openness, of optimism, and of faith in cooperation between peoples
and groups of people, and the use of modern technology.
The focus of the architect’s plan for the building is a layout that breaks it into a 900-733-square foot honeycomb consisting of 14
office “pods” of four and five stores linked by four atriums, each with a geodesic space frame roof. The sense of space introduced
by multiple atriums and by the modular quality of inter-locking office pods is the prime element that gives the structure its futuristic
look.
The DC Preservation League has filed an application with DC’s Historic Preservation Office seeking landmark status for the
building. The league views the former INTELSAT headquarters as an important part of DC’s architectural history that should be
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